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                               IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF ARKANSAS
                                         WESTERN DIVISION

UNITED STATES OF AMERICA                                                                               PLAINTIFF

v.                                            NO. 4:14CR00010-01 JLH

STEPHEN MARK WARE                                                                                     DEFENDANT

                                                       ORDER

        Defendant Stephen Mark Ware was committed to the custody of the Attorney General for a mental

evaluation on June 3, 20141. The Court received the written forensic evaluation of defendant on August 29,

2014.

        The June 3, 2014, Order indicated that fourteen (14) days from the date the examination report is

received by the Court and the parties, any party who requests a hearing regarding any issues in the report or

opposes the report must file a motion for hearing or a motion in opposition, including a concise statement of

opposition to the report and supporting authorities. If no motions are filed within fourteen (14) days, the

Court will enter an Order adopting or rejecting the conclusions set forth in the report, and the period of

excludable delay will end.

        In the event counsel for the government or defendant disputes the findings in the forensic evaluation

report, a motion for hearing, or motion in opposition to the report, including a concise statement of opposition

to the report and supporting authorities, must be filed by SEPTEMBER 16, 2014. If no motions are filed,

the Court will enter an Order based on the conclusions set forth in the report.

        IT IS SO ORDERED this 2nd day of September, 2014.




                                                                _________________________________
                                                                J. LEON HOLMES
                                                                UNITED STATES DISTRICT JUDGE



        1
            The defendant was allowed to self-surrender to the designated facility on July 1, 2014.
